           Case 1:11-cv-11170-DPW Document 306 Filed 11/25/19 Page 1 of 4



                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA and
 COMMONWEALTH OF
 MASSACHUSETTS ex rel. JULIO
 ESCOBAR and CARMEN CORREA
                                                               C.A. No. 11-CV-11170-DPW
           Relators–Plaintiffs,

 v.

 UNIVERSAL HEALTH SERVICES, INC.,
 UHS OF DELAWARE, INC., and HRI
 CLINICS, INC.

           Defendants.


                                     JOINT STATUS REPORT

          In response to the Court’s July 26, 2019 Order (ECF No. 280) that the Parties provide the

Court with reports every 30 days concerning the status of the case and settlement negotiations,

the Commonwealth of Massachusetts (the “Commonwealth”) and Relators Julio Escobar and

Carmen Correa (collectively, the “Relators”), together with Defendants Universal Health

Services (“Universal”), UHS of Delaware, Inc. (“UHS-DE”), and HRI Clinics, Inc. (“HRI”)

d/b/a Arbour Counseling Services (“Arbour”) (collectively, “Defendants”) jointly file this status

report.

          As noted previously, the United States, the Commonwealth, and Defendants have agreed

in principle on a settlement and are working to memorialize the remaining terms. (Relators have

not yet determined whether they will assent to the settlement agreement.) The United States, the

Commonwealth and the Defendants have circulated a number of draft settlement agreements,

provided comments thereon, and have had several telephonic conversations regarding the
        Case 1:11-cv-11170-DPW Document 306 Filed 11/25/19 Page 2 of 4



agreement’s terms. The United States, the Commonwealth and Defendants believe that

execution of a final settlement agreement may take 1-to-2 months from the filing of this report.

Accordingly, the Parties jointly request that the Court continue to stay all deadlines in this matter

so they can focus on finalizing the terms of an agreement.



                                                      Respectfully submitted,



                                                      COMMONWEALTH OF
                                                      MASSACHUSETTS

                                                      By its attorney,

                                                      MAURA HEALEY
                                                      Attorney General

Dated: November 25, 2019                               /s/ Philip Schreiber
                                                      Philip Schreiber (BBO # 667288)
                                                      Assistant Attorney General
                                                      Medicaid Fraud Division
                                                      One Ashburton Place, 18th Floor
                                                      Boston, MA 02108
                                                      (617) 963-2167
                                                      philip.schreiber@mass.gov



                                                      UNIVERSAL HEALTH SERVICES, INC.,
                                                      UHS OF DELAWARE, INC., AND HRI
                                                      CLINICS, INC.

                                                      By their attorneys,

Dated: November 25, 2019                               /s/ Laura McLane
                                                      Mark W. Pearlstein (BBO #542064)
                                                      Laura McLane (BBO # 644573)
                                                      Katrina Rogachevsky (BBO #691373)
                                                      MCDERMOTT WILL & EMERY LLP
                                                      28 State Street
                                                      Boston, Massachusetts 02109

                                                  2
       Case 1:11-cv-11170-DPW Document 306 Filed 11/25/19 Page 3 of 4



                                         Tel: (617) 535-4000
                                         Fax: (617) 535-3800
                                         mpearlstein@mwe.com
                                         lmclane@mwe.com
                                         krogachevsky@mwe.com


                                         JULIO ESCOBAR &
                                         CARMEN CORREA

                                         By their attorneys,

Dated: November 25, 2019                  /s/ Tom Greene
                                         Thomas M. Greene (BBO #210020)
                                         tgreene@greenellp.com
                                         Michael Tabb (BBO #491310)
                                         matabb@greenellp.com
                                         Greene LLP
                                         One Liberty Square, Suite 1200
                                         Boston, MA 02109
                                         (617) 261-0040




                                     3
         Case 1:11-cv-11170-DPW Document 306 Filed 11/25/19 Page 4 of 4



                                 CERTIFICATE OF SERVICE

       I certify that, on November 25, 2019, this document (filed through the ECF system) will

be sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF) and paper copies will be sent to those indicated as non-registered participants.



                                                              /s/ Philip Schreiber
                                                              Philip Schreiber




                                                  4
